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                                 UNITED STATES DISTRICT
                                 UNITED STATES DISTRICT COURT
                                                        COURT
                                 FOR THE
                                 FOR     DISTRICT OF
                                     THE DISTRICT OF COLUMBIA
                                                     COLUMBIA

 BROIDY CAPITAL
 BROIDY CAPITAL MANAGEMENT,
                MANAGEMENT, LLC,
                            LLC,
 ELLIOTT BROIDY
 ELLIOTT BROIDY

                                    Plaintiffs,
                                    Plaintiffs,              Civil Action No.:
                                                             Civil Action No.: 19-cv-00150-DLF
                                                                               19-cv-00150-DLF

                            v.
                            v.

 NICHOLAS D.
 NICHOLAS D. MUZIN,
             MUZIN, JOSEPH
                    JOSEPH
 ALLAHAM, GREGORY
 ALLAHAM, GREGORY HOWARD,
                     HOWARD,
 STONINGTON
 STONINGTON STRATEGIES,
             STRATEGIES, LLC,
                         LLC,

                                    Defendants.
                                    Defendants.


          PLAINTIFFS’ RESPONSE TO
          PLAINTIFFS' RESPONSE    QATAR’S STATEMENT
                               TO QATAR'S STATEMENT OF
                                                    OF INTEREST
                                                       INTEREST

        Qatar’s "Statement
        Qatar's “Statement of
                           of Interest” (ECF No.
                              Interest" (ECF No. 94) states that
                                                 94) states that it supports Defendants'
                                                                 it supports Defendants’

“emergency” motion
"emergency" motion for an unprecedented
                   for an unprecedented protective
                                        protective order
                                                   order that
                                                         that would
                                                              would grant
                                                                    grant non-party
                                                                          non-party Qatar
                                                                                    Qatar the
                                                                                          the

right to
right to prescreen,
         prescreen, redact,
                    redact, and/or
                            and/or withhold
                                   withhold altogether
                                            altogether any
                                                       any documents
                                                           documents produced
                                                                     produced by
                                                                              by third
                                                                                 third parties
                                                                                       parties in
                                                                                               in

this case
this case (see
          (see ECF     90).11
                   No. 90).
               ECF No.

        Qatar’s filing,
        Qatar's         which confirms
                filing, which          that Qatar
                              confirms that Qatar is actively and
                                                  is actively and timely
                                                                  timely monitoring
                                                                         monitoring this
                                                                                    this action,
                                                                                         action,

only confirms
only confirms the
              the lack
                  lack of
                       of any
                          any merit
                              merit to
                                    to Defendants'
                                       Defendants’ motion.
                                                   motion. As
                                                           As Plaintiffs
                                                              Plaintiffs pointed
                                                                         pointed out
                                                                                 out in
                                                                                     in their
                                                                                        their

opposition, Qatar
opposition, Qatar is perfectly capable
                  is perfectly capable of
                                       of making
                                          making aa motion
                                                    motion in this Court
                                                           in this Court to
                                                                         to seek
                                                                            seek to
                                                                                 to protect
                                                                                    protect

whatever rights
whatever rights it
                it claims to have,
                   claims to have, and
                                   and there
                                       there is
                                             is no
                                                no reason
                                                   reason or
                                                          or necessity
                                                             necessity —
                                                                       – let alone basis
                                                                         let alone basis in the
                                                                                         in the

Vienna Conventions
Vienna Conventions that
                   that Defendants
                        Defendants and
                                   and Qatar
                                       Qatar rely on —
                                             rely on – for this proposed
                                                       for this proposed unprecedented
                                                                         unprecedented

granting of
granting of rights
            rights to
                   to aa non-party.
                         non-party. See
                                    See generally
                                        generally ECF No. 92.
                                                  ECF No. 92.




11 Plaintiffs
   Plaintiffs also
              also note
                    note that
                         that defendants
                               defendants arrogated
                                          arrogated toto themselves
                                                         themselves not not only
                                                                              only aa right
                                                                                      right to
                                                                                            to file
                                                                                               file aa reply
                                                                                                       reply but
                                                                                                             but
 also more
also  more time
             time to
                   to do
                      do so
                          so (four
                             (four days)
                                   days) than
                                         than plaintiffs
                                               plaintiffs had
                                                          had toto file
                                                                   file an
                                                                        an opposition
                                                                             opposition (three
                                                                                          (three days),   see ECF
                                                                                                  days), see  ECF
 No. 93,
No.       even though
      93, even  though the
                         the Court
                              Court made
                                    made nono mention
                                               mention ofof aa reply
                                                               reply in  its minute
                                                                      in its  minute order
                                                                                       order dated    November
                                                                                             dated November
 30, 2021,
 30, 2021, and
            and even
                 even though
                       though under
                                 under Local
                                       Local Rule
                                              Rule 65.1(c)    pertaining to
                                                    65.1(c) pertaining      to preliminary
                                                                               preliminary injunction
                                                                                              injunction
 applications (the
applications   (the closest
                     closest analog),
                              analog), replies are not
                                       replies are not permitted
                                                        permitted absent
                                                                     absent leave    of court.
                                                                              leave of   court.
                                                        11
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       Like Defendants, Qatar
       Like Defendants, Qatar erroneously
                              erroneously argues
                                          argues based
                                                 based on
                                                       on the
                                                          the phrase
                                                              phrase in the Vienna
                                                                     in the Vienna

Conventions, "wherever
Conventions, “wherever they
                       they may
                            may be,"
                                be,” that
                                     that documents
                                          documents in
                                                    in hands
                                                       hands of
                                                             of third
                                                                third parties
                                                                      parties are
                                                                              are protected
                                                                                  protected by
                                                                                            by

those Conventions.
those Conventions. See
                   See ECF No. 94
                       ECF No.    at 2-3.
                               94 at 2-3. As
                                          As Plaintiffs
                                             Plaintiffs showed,
                                                        showed, however,
                                                                however, that
                                                                         that is
                                                                              is plainly
                                                                                 plainly not
                                                                                         not so
                                                                                             so

— the
  the phrase
      phrase only
             only confirms
                  confirms that
                           that protection
                                protection of
                                           of diplomatic or consular
                                              diplomatic or consular documents
                                                                     documents extends to any
                                                                               extends to any

such documents
such documents that
               that may
                    may have
                        have been
                             been lost
                                  lost or
                                       or stolen.
                                          stolen. See
                                                  See ECF
                                                      ECF No.
                                                          No. 92 at 23-24.
                                                              92 at 23-24. As
                                                                           As Plaintiffs
                                                                              Plaintiffs also
                                                                                         also

showed, Professor
showed, Professor Eileen
                  Eileen Denza
                         Denza —
                               – whose
                                 whose textbook
                                       textbook on
                                                on the
                                                   the Vienna
                                                       Vienna Conventions
                                                              Conventions is the only
                                                                          is the only

authority on
authority on this
             this point
                  point Defendants
                        Defendants cite in their
                                   cite in their motion
                                                 motion —
                                                        – has
                                                          has confirmed in testimony
                                                              confirmed in testimony before
                                                                                     before aa U.S.
                                                                                               U.S.

House of
House of Representatives
         Representatives Committee
                         Committee that
                                   that documents
                                        documents in
                                                  in the
                                                     the possession
                                                         possession of
                                                                    of "lobbyists
                                                                       “lobbyists or
                                                                                  or public
                                                                                     public

relations advisers
relations advisers to
                   to [a
                      [a foreign sovereign’s] Embassy,”
                         foreign sovereign's]           which "relat[e]
                                              Embassy," which “relat[e] to
                                                                        to professional
                                                                           professional services
                                                                                        services

performed for
performed     the Embassy”
          for the          are not
                  Embassy" are not "archives
                                   “archives and
                                             and documents
                                                 documents of
                                                           of the
                                                              the mission"
                                                                  mission” and
                                                                           and therefore
                                                                               therefore are
                                                                                         are

not protected
not protected under the Vienna
              under the Vienna Conventions.
                               Conventions. See
                                            See id. at 44 n.
                                                id. at    n. 55 and
                                                                and 23-24;
                                                                    23-24; see
                                                                           see also
                                                                               also id. at Ex.
                                                                                    id. at     C,
                                                                                           Ex. C,

Denza Chapter,
Denza Chapter, at
               at 161-62.
                  161-62. The Congressional Committee
                          The Congressional Committee agreed
                                                      agreed with
                                                             with Professor
                                                                  Professor Denza's
                                                                            Denza’s

position and
position and did
             did not
                 not accord
                     accord such
                            such protection
                                 protection to
                                            to purported
                                               purported diplomatic
                                                         diplomatic documents
                                                                    documents in the hands
                                                                              in the hands of
                                                                                           of

third parties
third parties which
              which Saudi Arabia had
                    Saudi Arabia had claimed
                                     claimed were
                                             were entitled to such
                                                  entitled to such protection.
                                                                   protection. See
                                                                               See id. Professor
                                                                                   id. Professor

Denza’s testimony
Denza's testimony was
                  was based
                      based on,
                            on, among
                                among other
                                      other things,
                                            things, aa case
                                                       case in
                                                            in which
                                                               which the
                                                                     the U.K.
                                                                         U.K. House
                                                                              House of
                                                                                    of Lords
                                                                                       Lords

“held that
"held that aa document
              document communicated to aa third
                       communicated to    third party
                                                party with
                                                      with actual
                                                           actual authority,
                                                                  authority, express
                                                                             express or
                                                                                     or implied, or
                                                                                        implied, or

with ostensible
with ostensible authority,
                authority, was
                           was no
                               no longer
                                  longer entitled
                                         entitled to
                                                  to inviolability.” Id.
                                                     inviolability." Id.

       There is thus
       There is thus no basis whatsoever
                     no basis whatsoever for the protective
                                         for the protective order
                                                            order that
                                                                  that Defendants
                                                                       Defendants and
                                                                                  and non-party
                                                                                      non-party

Qatar propose.
Qatar propose. To the extent
               To the extent Qatar
                             Qatar contends
                                   contends that
                                            that aa future
                                                    future subpoena
                                                           subpoena recipient may be
                                                                    recipient may be in
                                                                                     in

possession of
possession of its
              its diplomatic or consular
                  diplomatic or consular documents
                                         documents that
                                                   that were
                                                        were "lost
                                                             “lost or
                                                                   or stolen"
                                                                      stolen” —
                                                                              – or
                                                                                or has
                                                                                   has some
                                                                                       some other
                                                                                            other

specific, demonstrable
specific, demonstrable argument
                       argument for
                                for why
                                    why aa third
                                           third party
                                                 party has
                                                       has diplomatic
                                                           diplomatic or
                                                                      or consular
                                                                         consular documents
                                                                                  documents that
                                                                                            that

retain protection
retain protection (possibly,
                  (possibly, for
                             for example, where aa third
                                 example, where    third party
                                                         party is performing aa ministerial
                                                               is performing    ministerial storage
                                                                                            storage

task) —
task) – then
        then Qatar
             Qatar can
                   can file
                       file aa motion
                               motion at
                                      at that
                                         that time,
                                              time, and
                                                    and detail its specific
                                                        detail its specific concerns before the
                                                                            concerns before the Court.
                                                                                                Court.



                                                  22
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But until
But until any
          any subpoena
              subpoena potentially
                       potentially includes
                                   includes within
                                            within its
                                                   its sweep
                                                       sweep any
                                                             any of
                                                                 of Qatar's
                                                                    Qatar’s own
                                                                            own protected
                                                                                protected

documents, then
documents, then Qatar
                Qatar has
                      has neither
                          neither standing
                                  standing to
                                           to request the right
                                              request the right nor
                                                                nor substantive
                                                                    substantive grounds
                                                                                grounds to
                                                                                        to review
                                                                                           review

or prescreen,
or prescreen, let
              let alone
                  alone withhold
                        withhold or
                                 or redact, any third-party
                                    redact, any third-party materials.
                                                            materials.




 Dated: December
 Dated: December 6, 2021
                 6, 2021                             Respectfully submitted,
                                                     Respectfully submitted,

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                                                     KASOWITZ BENSON TORRES
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                                                                            LLP

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                                                                                        Broidy




                                                 3
                                                 3
